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                        Case 3:18-cr-04538-AJB Document 43 Filed 04/20/20 PageID.77 Page 1 of 2
       AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                               UNITED STATES DISTRICT Co                                                  APR 2 0 2020
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                        UNITED STATES OF AMERICA                             JUDGMENT IN AC
                                                                             (For Revocation of Probation bt:..:~~~~~13S41+---.2.....c.:...:::..:..:....i
                                          V.                                 (For Offenses Committed On or After November 1, 1987)
                      EDUARDO MENDOZA-OLIVERA (1)
                                                                                Case Number:        3:18-CR-04538-AJB

                                                                             DAVID SILLDORF
                                                                             Defendant's Attorney
        REGISTRATION NO.                  34104-479
            •-
        THE DEFENDANT:
            IZI admitted guilt to violation ofallegation(s) No.    ONE (1)
                                                                   ---------------------------------
            D was found guilty in violation ofallegation(s) No.    _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilty.

        Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

        Allegation Number                    Nature of Violation

                          1                  nv 1, Committed a federal, state or local offense




             Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
        The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
        change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
        judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
        material change in the defendant's economic circumstances.




                                                                                   . ANTHONY J. BATTA
                                                                                  ITED STATES DIST
           Case 3:18-cr-04538-AJB Document 43 Filed 04/20/20 PageID.78 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                EDUARDO MENDOZA-OLIVERA (1)                                              Judgment - Page 2 of2
CASE NUMBER:              3: 18-CR-04538-AJB

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •     at                             A.M.              on
       •     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office. ·

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                ------------- to ----------------
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STA TES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL
